Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 1 of 14




                  EXHIBIT 1
                Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 2 of 14


Olga Musayev

From:                             Maile Yeats-Rowe <MYeats-Rowe@keker.com>
Sent:                             Saturday, October 22, 2022 8:37 PM
To:                               Dansey, Lauren; Brook Dooley; Elliot Peters; David Silbert; Adam Lauridsen; Nicholas S.
                                  Goldberg; Sophie Hood; 'anthony.dreyer@skadden.com'; karen.lent@skadden.com;
                                  'patrick.fitzgerald@skadden.com'; Eric MacMichael; Nic Marais; Thomas E. Gorman; Leo
                                  Lam; Natalie J. Young; John Keker; 'matthew.martino@skadden.com'; Eric K. Phung
Cc:                               Brass, Rachel S.; Walters, Robert C.; Hvidt, Scott K.; Lipton, Joshua; Limarzi, Kristen C.;
                                  John Quinn; Dominic Surprenant; Kevin Teruya; Bob Feldman; Ryan Swindall; Olga
                                  Musayev; Teri Juarez; D Tom
Subject:                          RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.


                                     [EXTERNAL EMAIL from myeats-rowe@keker.com]


Lauren,

The Motion to Seal filed in the Southern District of New York, including all documents sought to be sealed, can be found
at the below FTP link. A separate email with the password will follow.

https://sendfiles.keker.com/link/KOjTHzVkF5PdkJGRHXFLuZ

Maile


Maile Yeats-Rowe
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Sent: Friday, October 21, 2022 5:32 PM
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<EPeters@keker.com>; David Silbert <DSilbert@keker.com>; Adam Lauridsen <ALauridsen@keker.com>; Nicholas S.
Goldberg <NGoldberg@keker.com>; Sophie Hood <SHood@keker.com>; 'anthony.dreyer@skadden.com'
<anthony.dreyer@skadden.com>; karen.lent@skadden.com; 'patrick.fitzgerald@skadden.com'
<patrick.fitzgerald@skadden.com>; Eric MacMichael <EMacMichael@keker.com>; Nic Marais <NMarais@keker.com>;
Thomas E. Gorman <TGorman@keker.com>; Leo Lam <LLam@keker.com>; Natalie J. Young <NYoung@keker.com>;
John Keker <JKeker@keker.com>; 'matthew.martino@skadden.com' <matthew.martino@skadden.com>; Eric K. Phung
<EPhung@keker.com>
Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Walters, Robert C. <RWalters@gibsondunn.com>; Hvidt, Scott K.
<SHvidt@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>; Limarzi, Kristen C.
<KLimarzi@gibsondunn.com>; John Quinn <johnquinn@quinnemanuel.com>; Dominic Surprenant
<dominicsurprenant@quinnemanuel.com>; Kevin Teruya <kevinteruya@quinnemanuel.com>; Bob Feldman
<bobfeldman@quinnemanuel.com>; Ryan Swindall <ryanswindall@quinnemanuel.com>; Olga Musayev
<olgamusayev@quinnemanuel.com>; Teri Juarez <terijuarez@quinnemanuel.com>; D Tom <DTom@gibsondunn.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.
                                                             1
                Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 3 of 14

[EXTERNAL]

Maile,

As counsel for LIV Golf, please provide us with a copy of the unredacted filings, which LIV Golf is entitled to see under
the protective order, so that LIV Golf can decide whether it will waive the confidentiality designation vis-à-vis PIF and
Yasir Al-Rumayyan for this purpose. This request is made on behalf of LIV Golf.


Lauren Dansey

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Brook Dooley <BDooley@keker.com>; Ryan Swindall <ryanswindall@quinnemanuel.com>; epeters@keker.com; David
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<NGoldberg@keker.com>; Sophie Hood <SHood@keker.com>; 'anthony.dreyer@skadden.com'
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<JKeker@keker.com>; 'matthew.martino@skadden.com' <matthew.martino@skadden.com>; Eric K. Phung
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Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters, Robert C.
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Limarzi, Kristen C. <KLimarzi@gibsondunn.com>; John Quinn <johnquinn@quinnemanuel.com>; Bob Feldman
<bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri Juarez
<terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

[WARNING: External Email]
Kevin:

The PGA TOUR’s proposed under seal filing in SDNY yesterday contains documents and information Plaintiffs have
designated Confidential and Attorneys’ Eyes Only under the Protective Order. See Dkt. 111. Under Paragraphs 7.2 and
7.3 of the Protective Order, we are not permitted to share this proposed under seal filing with PIF or Mr. Al-
Rumayyan. We will provide you with the redacted, public version of the TOUR’s papers when they have been filed. If
LIV intends to waive its confidentiality designations or consent to the disclosure of their designated information to PIF
and Mr. Al-Rumayyan, please advise us in writing.

With respect to the Motion to Transfer, we intend to notify the Court that PIF and Mr. Al-Rumayyan consent to the
transfer and that an unopposed motion to transfer will follow our case opening papers.

Thank you,

Maile Yeats-Rowe
                                                             2
                 Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 4 of 14



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Young <NYoung@keker.com>; John Keker <JKeker@keker.com>; 'matthew.martino@skadden.com'
<matthew.martino@skadden.com>; Eric K. Phung <EPhung@keker.com>
Cc: 'Brass, Rachel S.' <RBrass@gibsondunn.com>; 'Dansey, Lauren' <LDansey@gibsondunn.com>; 'Walters, Robert C.'
<RWalters@gibsondunn.com>; 'Hvidt, Scott K.' <SHvidt@gibsondunn.com>; 'Lipton, Joshua'
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<olgamusayev@quinnemanuel.com>; Teri Juarez <terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

[EXTERNAL]

Maile,

We saw the PGA Tour filed a miscellaneous case under seal in SDNY yesterday.

Please email a copy of the filings to us.

Regarding the agreement to transfer from SDNY to Judge Freeman as below, do you have a proposed
stipulation? Please let us know.

Thank you.

Regards,
Kevin


Kevin Teruya
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213-443-3226 Direct
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                                                          3
                      Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 5 of 14
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From: Kevin Teruya
Sent: Wednesday, October 12, 2022 4:44 PM
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karen.lent@skadden.com; patrick.fitzgerald@skadden.com; Eric MacMichael <EMacMichael@keker.com>; Nic Marais
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<NYoung@keker.com>; John Keker <JKeker@keker.com>; matthew.martino@skadden.com; Eric K. Phung
<EPhung@keker.com>
Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters, Robert C.
<RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>;
Limarzi, Kristen C. <KLimarzi@gibsondunn.com>; John Quinn <johnquinn@quinnemanuel.com>; Bob Feldman
<bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri Juarez
<terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

Maile,

We confirm we agree on behalf of PIF and HE Yasir Al-Rumayyan to having any motion by the PGA Tour to compel
compliance with the subpoenas transferred from SDNY to Judge Freeman, so long as the PGA Tour agrees any motion by
PIF and HE to quash the subpoenas would be transferred from SDNY to Judge Freeman as well. We understand the PGA
Tour agrees, per the below email.

Thank you.

Regards,
Kevin


Kevin Teruya
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                                                                                  4
              Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 6 of 14

From: Maile Yeats-Rowe [mailto:MYeats-Rowe@keker.com]
Sent: Wednesday, October 12, 2022 2:14 PM
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<EPeters@keker.com>; David Silbert <DSilbert@keker.com>; Adam Lauridsen <ALauridsen@keker.com>; Nicholas S.
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<NMarais@keker.com>; Thomas E. Gorman <TGorman@keker.com>; Leo Lam <LLam@keker.com>; Natalie J. Young
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Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters, Robert C.
<RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>;
Limarzi, Kristen C. <KLimarzi@gibsondunn.com>; John Quinn <johnquinn@quinnemanuel.com>; Bob Feldman
<bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri Juarez
<terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

                                 [EXTERNAL EMAIL from myeats-rowe@keker.com]


Hi Dominic,

Thank you for this response, but can you confirm that it is PIF and Mr. Al-Rumayyan who consent to the
transfer of any motion to compel to Judge Freeman, rather than LIV? If so, the Tour agrees that any motion to
quash may also be so transferred.

Thank you,
Maile


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From: Dominic Surprenant <dominicsurprenant@quinnemanuel.com>
Sent: Tuesday, October 11, 2022 9:22 AM
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<NYoung@keker.com>; John Keker <JKeker@keker.com>; matthew.martino@skadden.com; Eric K. Phung
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Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters, Robert C.
<RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>;
Limarzi, Kristen C. <KLimarzi@gibsondunn.com>; John Quinn <johnquinn@quinnemanuel.com>; Bob Feldman

                                                      5
              Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 7 of 14
<bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri Juarez
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Subject: FW: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

[EXTERNAL]



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From: Dominic Surprenant
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<BDooley@keker.com>; Ryan Swindall <ryanswindall@quinnemanuel.com>; Elliot Peters <EPeters@keker.com>; David
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<terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

Hi Maile,

Hi Maile,

LIV Golf is agreeable to having a motion to compel by the PGA Tour, assuming it files one,
transferred from SDNY to Judge Freeman, so long as you agree that a motion to quash by LIV
Golf would be transferred as well. Let me know if you have any questions.

Thanks

Dominic


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                                                      6
                Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 8 of 14


From: Maile Yeats-Rowe <MYeats-Rowe@keker.com>
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<olgamusayev@quinnemanuel.com>; Teri Juarez <terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

                                    [EXTERNAL EMAIL from myeats-rowe@keker.com]


Counsel,
Thank you for meeting this morning regarding your objections to our subpoenas to Mr. Al-Rumayyan and PIF.

From that discussion, we understand your positions to be that 1) no court in the United States has jurisdiction over PIF
or Mr. Al-Rumayyan for purposes of enforcing our subpoenas; 2) sovereign immunity and principles of international
comity bar compulsory production from PIF and Mr. Al-Rumayyan in response to our subpoenas; and 3) the subpoenas
are not enforceable under Rule 45’s 100-mile rule because neither PIF nor Mr. Al-Rumayyan regularly transacts business
in or near New York City.

We further understand your position to be that neither PIF nor Mr. Al-Rumayyan are relevant in any way to the TOUR’s
defenses or claims in this litigation.

Though you noted that PIF and Mr. Al-Rumayyan would consider voluntary production of certain categories of
documents, you did not agree to produce a single set of documents in response to our requests, or even propose a
narrowed scope for any of those requests despite meeting for over an hour. You have also not agreed to produce Mr. Al-
Rumayyan or a representative of PIF for a deposition.

As discussed, we are waiting to hear further as to 1) whether you agree to transfer any action enforcing these
subpoenas from SDNY to NDCA; 2) whether there is any category of documents that you are willing to produce and
whether you will produce witnesses on any of the topics in our deposition subpoena to PIF; and 3) whether PIF and Mr.
Al-Rumayyan are willing to waive their objections to personal jurisdiction and sovereign immunity for purposes of
enforcing an agreement over narrowed discovery requests.

Please provide us your responses on these issues as soon as possible, and no later than noon pacific time on Tuesday,
October 11. Your refusal to produce a single responsive document or commit to producing a witness in response to our
deposition subpoena already threatens to prejudice the TOUR and disrupt the condensed case schedule you requested.

Regards,
Maile




                                                           7
                  Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 9 of 14

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From: Kevin Teruya <kevinteruya@quinnemanuel.com>
Sent: Saturday, October 8, 2022 1:46 PM
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Goldberg <NGoldberg@keker.com>; Sophie Hood <SHood@keker.com>; anthony.dreyer@skadden.com;
karen.lent@skadden.com; patrick.fitzgerald@skadden.com; Eric MacMichael <EMacMichael@keker.com>; Nic Marais
<NMarais@keker.com>; Thomas E. Gorman <TGorman@keker.com>; Leo Lam <LLam@keker.com>; Natalie J. Young
<NYoung@keker.com>; John Keker <JKeker@keker.com>; matthew.martino@skadden.com; Eric K. Phung
<EPhung@keker.com>; Maile Yeats-Rowe <MYeats-Rowe@keker.com>
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<olgamusayev@quinnemanuel.com>; Teri Juarez <terijuarez@quinnemanuel.com>
Subject: Re: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

[EXTERNAL]

Brook,

As part of the below discussion, we would like to also meet and confer over our related motions to quash. Thank you in
advance.

Regards,
Kevin


         On Oct 6, 2022, at 5:00 PM, Kevin Teruya <kevinteruya@quinnemanuel.com> wrote:


         Brook,

         That sounds good. Dominic, Ryan, and I plan to join.

         Regards,
         Kevin

         From: Brook Dooley <BDooley@keker.com>
         Sent: Thursday, October 6, 2022 4:46 PM
         To: Kevin Teruya <kevinteruya@quinnemanuel.com>; Ryan Swindall
         <ryanswindall@quinnemanuel.com>; Elliot Peters <EPeters@keker.com>; David Silbert
         <DSilbert@keker.com>; Adam Lauridsen <ALauridsen@keker.com>; Nicholas S. Goldberg
         <NGoldberg@keker.com>; Sophie Hood <SHood@keker.com>; anthony.dreyer@skadden.com;

                                                            8
         Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 10 of 14
karen.lent@skadden.com; patrick.fitzgerald@skadden.com; Eric MacMichael
<EMacMichael@keker.com>; Nicholas S. Goldberg <NGoldberg@keker.com>; Nic Marais
<NMarais@keker.com>; Thomas E. Gorman <TGorman@keker.com>; Leo Lam <LLam@keker.com>;
Natalie J. Young <NYoung@keker.com>; John Keker <JKeker@keker.com>;
matthew.martino@skadden.com; Eric K. Phung <EPhung@keker.com>; Maile Yeats-Rowe <MYeats-
Rowe@keker.com>
Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters,
Robert C. <RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; "Lipton, Joshua"
<JLipton@gibsondunn.com>; "Limarzi, Kristen C." <KLimarzi@gibsondunn.com>; John Quinn
<johnquinn@quinnemanuel.com>; Dominic Surprenant <dominicsurprenant@quinnemanuel.com>; Bob
Feldman <bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri
Juarez <terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

                              [EXTERNAL EMAIL from bdooley@keker.com]


Thanks, Kevin. Let’s plan on 8:00 PT on Monday morning.

We can send the invite. Who from your team will be joining?

Brook

From: Kevin Teruya <kevinteruya@quinnemanuel.com>
Sent: Thursday, October 6, 2022 4:23 PM
To: Brook Dooley <BDooley@keker.com>; Ryan Swindall <ryanswindall@quinnemanuel.com>; Elliot
Peters <EPeters@keker.com>; David Silbert <DSilbert@keker.com>; Adam Lauridsen
<ALauridsen@keker.com>; Nicholas S. Goldberg <NGoldberg@keker.com>; Sophie Hood
<SHood@keker.com>; anthony.dreyer@skadden.com; karen.lent@skadden.com;
patrick.fitzgerald@skadden.com; Eric MacMichael <EMacMichael@keker.com>; Nicholas S. Goldberg
<NGoldberg@keker.com>; Nic Marais <NMarais@keker.com>; Thomas E. Gorman
<TGorman@keker.com>; Leo Lam <LLam@keker.com>; Natalie J. Young <NYoung@keker.com>; John
Keker <JKeker@keker.com>; matthew.martino@skadden.com; Eric K. Phung <EPhung@keker.com>;
Maile Yeats-Rowe <MYeats-Rowe@keker.com>
Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters,
Robert C. <RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; "Lipton, Joshua"
<JLipton@gibsondunn.com>; "Limarzi, Kristen C." <KLimarzi@gibsondunn.com>; John Quinn
<johnquinn@quinnemanuel.com>; Dominic Surprenant <dominicsurprenant@quinnemanuel.com>; Bob
Feldman <bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri
Juarez <terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

[EXTERNAL]

Brook,

We have a conflict on Monday from 9:00 to 9:45 or so. But we are available on Monday at 8:00 or 11:00
PT.

Please let us know if we could schedule for one of those times. Thank you in advance.

Regards,
Kevin
                                                   9
         Case 5:22-cv-04486-BLF Document 150-1 Filed 11/10/22 Page 11 of 14


From: Brook Dooley <BDooley@keker.com>
Sent: Thursday, October 6, 2022 4:16 PM
To: Kevin Teruya <kevinteruya@quinnemanuel.com>; Ryan Swindall
<ryanswindall@quinnemanuel.com>; Elliot Peters <EPeters@keker.com>; David Silbert
<DSilbert@keker.com>; Adam Lauridsen <ALauridsen@keker.com>; Nicholas S. Goldberg
<NGoldberg@keker.com>; Sophie Hood <SHood@keker.com>; anthony.dreyer@skadden.com;
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<EMacMichael@keker.com>; Nicholas S. Goldberg <NGoldberg@keker.com>; Nic Marais
<NMarais@keker.com>; Thomas E. Gorman <TGorman@keker.com>; Leo Lam <LLam@keker.com>;
Natalie J. Young <NYoung@keker.com>; John Keker <JKeker@keker.com>;
matthew.martino@skadden.com; Eric K. Phung <EPhung@keker.com>; Maile Yeats-Rowe <MYeats-
Rowe@keker.com>
Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters,
Robert C. <RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; "Lipton, Joshua"
<JLipton@gibsondunn.com>; "Limarzi, Kristen C." <KLimarzi@gibsondunn.com>; John Quinn
<johnquinn@quinnemanuel.com>; Dominic Surprenant <dominicsurprenant@quinnemanuel.com>; Bob
Feldman <bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri
Juarez <terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

                            [EXTERNAL EMAIL from bdooley@keker.com]


Thanks, Kevin

Could we do 9:00 PT on Monday instead?

Brook
From: Kevin Teruya <kevinteruya@quinnemanuel.com>
Sent: Thursday, October 6, 2022 3:25 PM
To: Brook Dooley <BDooley@keker.com>; Ryan Swindall <ryanswindall@quinnemanuel.com>; Elliot
Peters <EPeters@keker.com>; David Silbert <DSilbert@keker.com>; Adam Lauridsen
<ALauridsen@keker.com>; Nicholas S. Goldberg <NGoldberg@keker.com>; Sophie Hood
<SHood@keker.com>; anthony.dreyer@skadden.com; karen.lent@skadden.com;
patrick.fitzgerald@skadden.com; Eric MacMichael <EMacMichael@keker.com>; Nicholas S. Goldberg
<NGoldberg@keker.com>; Nic Marais <NMarais@keker.com>; Thomas E. Gorman
<TGorman@keker.com>; Leo Lam <LLam@keker.com>; Natalie J. Young <NYoung@keker.com>; John
Keker <JKeker@keker.com>; matthew.martino@skadden.com; Eric K. Phung <EPhung@keker.com>;
Maile Yeats-Rowe <MYeats-Rowe@keker.com>
Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters,
Robert C. <RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; "Lipton, Joshua"
<JLipton@gibsondunn.com>; "Limarzi, Kristen C." <KLimarzi@gibsondunn.com>; John Quinn
<johnquinn@quinnemanuel.com>; Dominic Surprenant <dominicsurprenant@quinnemanuel.com>; Bob
Feldman <bobfeldman@quinnemanuel.com>; Olga Musayev <olgamusayev@quinnemanuel.com>; Teri
Juarez <terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

[EXTERNAL]

Brook,


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We are available on Monday at 10 am Pacific Time to meet and confer regarding the below responses
and objections. Please let us know if you are available at that time. Thank you.

Regards,
Kevin


Kevin Teruya
Partner
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3226 Direct
213-443-3000 Main Office Number
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From: Brook Dooley <BDooley@keker.com>
Sent: Wednesday, October 5, 2022 5:43 PM
To: Ryan Swindall <ryanswindall@quinnemanuel.com>; Elliot Peters <EPeters@keker.com>; David
Silbert <DSilbert@keker.com>; Adam Lauridsen <ALauridsen@keker.com>; Nicholas S. Goldberg
<NGoldberg@keker.com>; Sophie Hood <SHood@keker.com>; anthony.dreyer@skadden.com;
karen.lent@skadden.com; patrick.fitzgerald@skadden.com; Eric MacMichael
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Natalie J. Young <NYoung@keker.com>; John Keker <JKeker@keker.com>;
matthew.martino@skadden.com; Eric K. Phung <EPhung@keker.com>; Maile Yeats-Rowe <MYeats-
Rowe@keker.com>
Cc: Brass, Rachel S. <RBrass@gibsondunn.com>; Dansey, Lauren <LDansey@gibsondunn.com>; Walters,
Robert C. <RWalters@gibsondunn.com>; Hvidt, Scott K. <SHvidt@gibsondunn.com>; "Lipton, Joshua"
<JLipton@gibsondunn.com>; "Limarzi, Kristen C." <KLimarzi@gibsondunn.com>; John Quinn
<johnquinn@quinnemanuel.com>; Dominic Surprenant <dominicsurprenant@quinnemanuel.com>;
Kevin Teruya <kevinteruya@quinnemanuel.com>; Bob Feldman <bobfeldman@quinnemanuel.com>;
Olga Musayev <olgamusayev@quinnemanuel.com>; Teri Juarez <terijuarez@quinnemanuel.com>
Subject: RE: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

                                           [EXTERNAL EMAIL from bdooley@keker.com]


Counsel for Mr. Al-Rumayyan and PIF:

Please let us know times that you are available tomorrow or Friday to meet and confer regarding Mr. Al-
Rumayyan’s and PIF’s responses and objections to the PGA TOUR’s deposition and document
subpoenas.

Thank you

Brook


                                                                      11
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        Brook Dooley
        Keker, Van Nest & Peters LLP
        633 Battery Street
        San Francisco, CA 94111-1890
        415 773 6639 office | 510 384 7166 mobile
        bdooley@keker.com | vcard | keker.com
        Pronouns: he | him | his




        From: Ryan Swindall <ryanswindall@quinnemanuel.com>
        Sent: Monday, October 3, 2022 5:26 PM
        To: Elliot Peters <EPeters@keker.com>; David Silbert <DSilbert@keker.com>; Adam Lauridsen
        <ALauridsen@keker.com>; Nicholas S. Goldberg <NGoldberg@keker.com>; Sophie Hood
        <SHood@keker.com>; anthony.dreyer@skadden.com; karen.lent@skadden.com;
        patrick.fitzgerald@skadden.com; Brook Dooley <BDooley@keker.com>; Eric MacMichael
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        Natalie J. Young <NYoung@keker.com>; John Keker <JKeker@keker.com>;
        matthew.martino@skadden.com
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        <johnquinn@quinnemanuel.com>; Dominic Surprenant <dominicsurprenant@quinnemanuel.com>;
        Kevin Teruya <kevinteruya@quinnemanuel.com>; Bob Feldman <bobfeldman@quinnemanuel.com>;
        Olga Musayev <olgamusayev@quinnemanuel.com>; Teri Juarez <terijuarez@quinnemanuel.com>
        Subject: Case 5:22-cv-04486-BLF Mickelson et al v. PGA Tour, Inc.

        [EXTERNAL]

        Dear Counsel,

        Please find attached:

            1. Non-Party Public Investment Fund of Kingdom of Saudi Arabia’s Responses and Objections to
               PGA Tour, Inc.’s Subpoena to Testify at a Deposition;
            2. Non-Party Public Investment Fund of Kingdom of Saudi Arabia’s Responses and Objections to
               PGA Tour, Inc.’s Subpoena to Produce Documents;
            3. Non-Party His Excellency Yasir Al-Rumayyan’s Responses and Objections to PGA Tour, Inc.’s
               Subpoena to Testify at a Deposition; and
            4. Non-Party His Excellency Yasir Al-Rumayyan’s Responses and Objections to PGA Tour, Inc.’s
               Subpoena to Produce Documents.

        Thank you,
        Ryan Swindall

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                                                            12
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